       Case 1:21-cv-00108-KWR-KK Document 29 Filed 05/16/22 Page 1 of 1




                             MINUTES REGARDING
                       RULE 16 SETTLEMENT CONFERENCE


CASE NAME:          Grimando v. United States of America et al.

CASE NUMBER:        Civ. No. 21-108 KWR/KK


       A Rule 16 Settlement Conference was conducted before United States Magistrate Judge
Kirtan Khalsa beginning at 9:30 A.M. on Monday, May 16, 2022.


APPEARANCES:

For Plaintiff:             Robert A. Berlin

With Client:               Joseph Grimando

For Defendant:             Kimberly N Bell




RESULTS OF SETTLEMENT CONFERENCE:                       Case settled subject to final agency
                                                        approval. Closing documents are due
                                                        by July 5, 2022.


TIME SPENT IN SETTLEMENT CONFERENCE:                    1 hour and 54 minutes
